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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


NEILL S. WRIGHT,                                   CIVIL ACTION NO.: 2:16-cv-09405

                        Plaintiff                  JUDGE: Nanette Jolivette Brown

v.                                                 MAGISTRATE JUDGE: Wilkinson

ERIC BLUE                                          SECTION “G” (2)

                        Defendant

                  SEPARATE STATEMENT OF MATERIAL FACTS
          IN SUPPORT OF PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

          Pursuant to Local Civil Rule 56.1, plaintiff Neill S. Wright (“Mr. Wright”) submits this

Separate Statement of Material Facts in support of his Motion for Summary Judgment.

          1.     Mr. Wright offered to make a loan to Eric Blue (“Mr.Blue”) in the amount of one

hundred thousand dollars ($100,000.00). Mr. Blue accepted Mr. Wright’s offer and in return

agreed to pay Mr. Wright a total of one hundred eight thousand dollars ($108,000.00) on or

before June 30, 2015. This agreement was memorialized in the form of a promissory note dated

June 4, 2015 and signed by Mr. Blue (“Note #1”). See Declaration of Neill S. Wright in Support

of Plaintiff’s Motion for Summary Judgment (the “Wright Decl.”) at ¶¶ 2-4, Ex. A.

          2.     Mr. Blue admits that he signed Note #1.        See Complaint [D.E. 1] at ¶ 7;

Defendant Eric Blue’s Amended Original Answer [D.E. 7] (the “Answer”) at ¶ 7.

          3.     Mr. Wright delivered to Mr. Blue the sum of one hundred thousand dollars

($100,000.00) as promised. See Wright Decl. at ¶ 5.

          4.     Mr. Blue failed to make any payments on Note #1 as promised. See Wright Decl.

at ¶ 6.
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          5.    Mr. Wright offered to forgo instituting collection proceedings and to cancel Note

#1 as consideration for Mr. Blue’s promise to pay one hundred sixteen thousand dollars

($116,000.00) on or before September 15, 2015. Mr. Blue accepted Mr. Wright’s offer and

executed a second promissory note (“Note #2”) on August 31, 2015, memorializing the

agreement. See Wright Decl. at ¶¶ 7-8, Ex. B.

          6.    Mr. Blue admits that he signed Note #2. See Complaint at ¶ 10; Answer at ¶ 10.

          7.    Mr. Blue failed to make any payments on Note #2 as promised. See Wright Decl.

at ¶ 9.

          8.    Mr. Wright offered to forgo instituting collection proceedings and to cancel Note

#2 as consideration for Mr. Blue’s promise to pay one hundred twenty-four thousand dollars

($124,000.00) on or before April 15, 2016. Mr. Blue accepted Mr. Wright’s offer and executed a

third promissory note (“Note #3”) on March 16, 2016, memorializing the agreement. See Wright

Decl. at ¶¶ 10-11, Ex. C.

          9.    Mr. Blue admits that he signed Note #3. See Complaint at ¶ 12; Answer at ¶ 12.

          10.   Mr. Blue “admits that no payment has been made on Note 3.” Answer at ¶ 13.

          11.   Mr. Wright also testified that Mr. Blue has not made any payments on Note #3 as

promised. See Wright Decl. at ¶ 12.

          12.   Note #3 is now delinquent. See Wright Decl., Ex. C.

          13.   Note #3 states, “If this Note is placed in the hands of an attorney for collection,

Maker agrees to pay attorneys’ fees and costs and expenses of collection, including but not

limited to court costs.” See Wright Decl., Ex. C.




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       14.    Because Mr. Blue has failed to make any payments on Note #3, Mr. Wright has

retained the services of Intellectual Property Consulting, LLC to collect the debt owed By Mr.

Blue pursuant to Note #3. See Wright Decl. at ¶ 14.



                                            Respectfully submitted,

                                            __/s/ Richard T Sahuc___________________
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                                            Attorneys for Neill S. Wright



                               CERTIFICATE OF SERVICE

I certify that on this 22nd day of July, 2016, a copy of the foregoing Separate Statement of
Material Facts in Support of Plaintiff’s Motion for Summary Judgment was filed electronically
with the Clerk of Court using the CM/ECF System. Notice of this filing was served by
ELECTRONIC FILING through the court’s electronic filing system upon:

Elizabeth B. Carpenter
ebc@neworleans-criminal-defense.com

and by FIRST CLASS MAIL, POSTAGE PREPAID upon:

Ezekiel Tyson, Jr.
Law Office of Ezekiel Tyson, Jr.
342 W. Montana Ave.
Dallas, Texas 75224



                                            /s/ Richard T. Sahuc
                                              Richard T. Sahuc


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